Case 1-24-40294-nni DOC y-5 Filed Qo/O//24 Entered Vs/O/i24 2140709

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|Debtorname New York International Bagel & Coffee Inc.

United States Bankruptcy Court for the: EASTERN DISTRICT OF NEW YORK

Case number (if known) 1-24-40294
HW Check if this is an
amended filing

Official Form 207 AMENDED

Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

EUS Income

1. Gross revenue from business

0 None.

Identify the beginning and ending dates of the debtor's fiscal year, Sources of revenue Gross revenue

which may be a calendar year Check all that apply (before deductions and
exclusions)

From the beginning of the fiscal year to filing date: O] Operating a business $0.00

From 1/01/2024 to Filing Date Debtor ceased all

business operations
M Other in April 2021
2. Non-business revenue — — a
include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

None.

Description of sources of revenue Gross revenue from
each source
(before deductions and
exclusions)

[GERM List Certain Transfers Made Before Filing for Bankruptcy
3. Certain payments or transfers to creditors within 90 days before filing this case
List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before

filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
and every 3 years after that with respect to cases filed on or afler the date of adjustment.)

i None.

Creditor's Name and Address Dates Total amount of value Reasons for payment or transfer
Check all that apply

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4, Payments or other transfers of property made within 1 year before filing this case that benefited any insider

Legal Actions or Assignments _

List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to.an insider or guaranteed
or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
listed in line 3. /nsiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
debtor and their relatives; affiliates of the debtor and insiders of such affillates; and any managing agent of the debtor. 11 U.S.C. § 401(31).

B None.

Insider's name and address Dates Total amount of value Reasons for payment or transfer

Relationship to debtor

Repossessions, foreclosures, and returns
List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

Bi None

Creditor’s name and address Describe of the Property Date Value of property

Setoffs

List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
debt.

Hl None

Date action was Amount

taken

Creditor's name and address Description of the action creditor took

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits

List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved

in any capacity—within 1 year before filing this case.

01 None.
Case title Nature of case Court or agency's name and Status of case
Case number address
7.1. Debtor 47-41 31st LLC Lawsuit for rent Supreme Court Queens Hl Pending
725019-2020 due and owing County Oo |
88-11 Sutphin Blvd. 4 eae :
Jamaica, NY 11435 ©
7.2. Abraham Gonzalez v. New Alleged salary Queens County Supreme lM Pending
York International Bagel & owed (claim Court 0 onappeal
Coffee Inc. and Mahmoud E. $443,000.00) 88-11 Sutphin Blvd. O Concluded
Ismail Jamaica, NY 11435
__726257-2023 — _ ee __ — _
7.3. Efrain Zamora Nendieta v. Alleged salary Queens County Supreme @ Pending
New York International Bagel owed (claim Court C1 on appeal
& Coffee Inc. and Mahmoud $95,000.00) 88-11 Sutphin Blvd. CO Concluded

E. Ismail
726257-2023 _

8. Assignments and receivership

List any property in the hands o

f an assignee for the benefit of creditors during the 120 days befo

Jamaica, NY 11435

receiver, custodian, or other court-appointed officer within 1 year before filing this case.

Hl None

GEE Certain Gifts and Charitable Contributions
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re filing this case and any property in the hands of a

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9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of

the gifts to that recipient is less than $1,000

i None

Recipient's name and address Description of the gifts or contributions

see Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

Hf None
Description of the property lost and Amount of payments received for the loss

how the loss occurred
If you have received payments to cover the loss, for
example, from insurance, government compensation, or
tort liability, list the total received.

List unpaid claims on Official Form 106A/B (Schedule
A/B; Assets — Real and Personal Property).

[GEG Certain Payments or Transfers

Dates given

Dates of loss

Value

Value of property
lost

41. Payments related to bankruptcy

List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing

of this case to another person or entity,
relief, or filing a bankruptcy case.

O None.

Who was paid or who received If not money, describe any property transferred
the transfer?

Address

Steinberg & Associates,
Esqs.

1129 Northern Bivd., Ste. 402

Manhasset, NY 11030 Attorney Fees

Email or website address
sa@lawsteinberg.com

Who made the payment, if not debtor?
Debtor's owner -President -
Mahmoud Ismail

12. Self-settled trusts of which the debtor is a beneficiary

including attorneys, that the debtor consulted about debt consolidati

on or restructuring, seeking bankruptcy

Total amount or
value

Dates

$4,835.00

List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case

to a self-settled trust or similar device.
Do not include transfers already listed on this statement.

i None.

Name of trust or device Describe any property transferred

13, Transfers not already listed on this statement

Dates transfers
were made

Total amount or
value

List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

BB None.

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Debtor New York International Bagel & Coffee Inc. / Case number (ifknown) 1-24-40294
Who received transfer? Description of property transferred or Date transfer Total amount or
Address payments received or debts paid in exchange was made value

BGEGaa Previous Locations _ —___——— = Ss

14. Previous addresses
List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

@ Does not apply

Address Dates of occupancy
From-To

Health Care Bankruptcies

15. Health Care bankruptcies
Is the debtor primarily engaged in offering services and facilities for:
- diagnosing or treating injury, deformity, or disease, or
- providing any surgical, psychiatric, drug treatment, or obstetric care?

No. Go to Part 9.
O ‘Yes. Fill in the information below.

Facility name and address Nature of the business operation, including type of services If debtor provides meals
the debtor provides and housing, number of
patients in debtor’s care

[EERE Personally Identifiable Information

46. Does the debtor collect and retain personally identifiable information of customers?

Hi No.

Ol Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
profit-sharing plan made available by the debtor as an employee benefit?

Hl No. Go to Part 10.
O_Yes. Does the debtor serve as plan administrator?

[GERELE Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
cooperatives, associations, and other financial institutions.

Hf None
Financial Institution name and Last 4 digits of Type of account or Date account was Last balance
Address account number instrument closed, sold, before closing or
moved, or transfer
transferred

19. Safe deposit boxes
List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this

case,
Bi None
Depository institution name and address Names of anyone with Description of the contents Does debtor
access to it still have it?
Address

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20. Off-premises storage .
List any property kept in storage units or warehouses within 4 year before filing this case. Do not include facilities that are in a part of a building in
which the debtor does business.

IB None

Facility name and address Names of anyone with Description of the contents Does debtor
access to it still have it?

CEtckk ba Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
not list leased or rented property.

None

ese Details About Environment Information

For the purpose of Part 12, the following definitions apply:
Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
medium affected (air, land, water, or any other medium).

Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
owned, operated, or utilized.

Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any Judicial or administrative proceeding under any environmental law? Include settlements and orders.

H No.

Ol Yes. Provide details below.

Case title Court or agency name and Nature of the case Status of case
Case number address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
environmental law?

MH No.
O Yes. Provide details below.
Site name and address Governmental unit name and Environmental taw, if known Date of notice
address

24. Has the debtor notified any governmental unit of any release of hazardous material?

No.

O Yes. Provide details below.

Site name and address Governmental unit name and Environmental law, If known Date of notice
address

FEukEEE Details About the Debtor's Business or Connections to Any Business

25, Other businesses in which the debtor has or has had an interest
List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
Include this information even if already listed in the Schedules.

Hf None

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Business name address Describe the nature of the business Employer Identification number
Do not include Social Security number or ITIN.

Dates business existed

26. Books, records, and financial statements
26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.

OJ None
Name and address Date of service
From-To
26a.1.. Ashraf Hanno 2015-2023

24-16 Steinway Street
Astoria, NY 11103 _

26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
within 2 years before filing this case.

Wi None

26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.

OO None

Name and address If any books of account and records are
unavailable, explain why

26c.1. Ashraf Hanno
24-16 Steinway Street
Astoria, NY 11103

26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
statement within 2 years before filing this case.

HB None
Name and address

27. Inventories
Have any inventories of the debtor's property been taken within 2 years before filing this case?

BH No

O Yes. Give the details about the two most recent inventories.
Name of the person who supervised the taking of the Date of inventory =‘ The dollar amount and basis (cost, market,
inventory or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
in contro! of the debtor at the time of the filing of this case.

Name Address Position and nature of any % of interest, if
interest any
Mahmoud Ismail 66-25 Garfield Avenue Owner-President 100

Long Island City, NY 11101

29, Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
/

B No
OsYes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
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Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
loans, credits on loans, stock redemptions, and options exercised?

@ No
O Yes. Identify below.
Name and address of recipient Amount of money or description and value of Dates Reason for
property providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

MH No
O Yes. Identify below.

Name of the parent corporation Employer Identification number of the parent
corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

HB No
OD Yes. Identify below.
Name of the pension fund Employer Identification number of the pension
fund

[EZWEEEE Signature and Declaration __ _ __

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

| have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executed on Sf 7 iz fo

_ ‘Mahmoud tsmail
Signature of individual signing on behalf of the debtor Printed name

Position or relationship to debtor Owner-President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
No
O Yes

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